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 6                      IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                       No. 20-08904MJ-001-TUC-LAB
10                Plaintiff,                         ORDER
11   v.
12   Amber Ortega,
13                Defendant.
14
15         IT IS HEREBY ORDERED that the Conditions of Release as to defendant Amber
16   Ortega are modified as follows:
17
           1. The defendant will remain released on her own Personal Recognizance and
18            will no longer report to U.S. Pretrial Services.
19
20         2. The defendant shall not commit any federal, state, tribal or local crimes.

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           3. The defendant shall remain in contact with her attorney and promises to appear
22            at all court proceedings as required.
23
           Dated this 9th day of December, 2021.
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